Dear Dr. Mallory:
This letter is in response to your request for our review and certification of the Department of Elementary and Secondary Education's Fiscal Year 1979 Annual Program Plan under Part B of the Education of the Handicapped Act, as amended by Public Law 94-142 (20 U.S.C. § 1401et seq., as amended).
In addition to the Education of the Handicapped Act, as amended, and regulations promulgated pursuant thereto (45 CFR Part 121a (August 23, 1977)), our review has taken into consideration Article IX, Sections 1(a), 2(a) and 2(b), Missouri Constitution; Sections 161.092, and 162.670 to 162.995, RSMo Supp. 1975, and related provisions.
It is the opinion of this office that:
         1.  The Missouri State Department of Elementary and Secondary Education is the State educational agency as defined in 20 U.S.C. § 1401(7) and has authority under state law to submit the plan and to administer or to supervise the administration of the plan.
         2.  All plan provisions are consistent with state law.
Very truly yours,
                                  JOHN ASHCROFT Attorney General